               Case 2:17-cv-06648-JAK-GJS Document 67 Filed 01/14/19 Page 1 of 6 Page ID #:1975



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                         GEOFFERY OWEN CASSIDY and
                     6   ASIA AVIATION HOLDINGS PTE. LTD.
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                                               UNITED STATES DISTRICT COURT
                     9
                                              CENTRAL DISTRICT OF CALIFORNIA
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                    11
                         JAMES N.H. SEAGRIM, STEPHEN           CASE NO. 2:17-CV-6648 (JAK)
                    12   MATTHEW WALTER, ZETTA JET PTE.
                         LTD., and ZETTA JET USA, INC.,        MEMORANDUM OF POINTS AND
                    13                                         AUTHORITIES IN SUPPORT OF
                                           Plaintiffs,         MORGAN, LEWIS & BOCKIUS
                    14                                         LLP’S MOTION FOR LEAVE TO
                                     vs.                       WITHDRAW AS COUNSEL FOR
                    15                                         DEFENDANTS GEOFFERY OWEN
                         GEOFFERY OWEN CASSIDY, MIRANDA        CASSIDY AND ASIA AVIATION
                    16   JUNE TANG (a/k/a JUNE TANG KIM        HOLDINGS PTE. LTD.
                         CHOO), and ASIA AVIATION HOLDINGS
                    17   PTE. LTD.,                            [L.R. 83-2.3.2]
                    18                     Defendants.         [Notice of Motion and Motion;
                                                               Declaration of Nathan J. Hochman; and
                    19                                         [Proposed] Order filed concurrently
                                                               herewith]
                    20
                                                               Date: March 18, 2019 (January 28, 2019
                    21                                         requested in accompanying ex parte
                                                               application)
                    22                                         Time: 8:30 a.m.
                                                               Courtroom: 10B
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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                     MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO
                                               WITHDRAW AS COUNSEL
           Case 2:17-cv-06648-JAK-GJS Document 67 Filed 01/14/19 Page 2 of 6 Page ID #:1976



                     1   I.     INTRODUCTION

                     2          Pursuant to Local Rule 83-2.3.2, Morgan, Lewis & Bockius LLP (“Morgan Lewis”)

                     3   respectfully submits this memorandum of points and authorities in support of its motion for

                     4   leave to withdraw as counsel of record for defendants Geoffery Owen Cassidy and Asia

                     5   Aviation Holdings PTE. Ltd. (“Asia Aviation”) (collectively, “Defendants”) in the above-

                     6   captioned action. This Motion is made following the conference of counsel pursuant to Local

                     7   Rule 7-3, which took place on January 11, 2018 with counsel for plaintiffs Zetta Jet PTE. Ltd.

                     8   and Zetta Jet USA, Inc. (collectively, “Zetta Jet”).1 Zetta Jet does not oppose this motion.

                     9          Withdrawal of counsel is appropriate under the circumstances. First, as set forth in the

                    10   accompanying Declaration of Nathan J. Hochman (“Hochman Decl.”), there is good cause for

                    11   the Court to grant the motion due to the breakdown in communications between Morgan Lewis

                    12   and Mr. Cassidy and Defendants’ failure to pay agreed compensation. Second, Zetta Jet’s

                    13   counsel indicated that Zetta Jet does not oppose this Motion, reflecting that granting this

                    14   Motion will not prejudice Zetta Jet in its pursuit of this action. Third, Morgan Lewis’s

                    15   withdrawal will not affect the administration of justice. Morgan Lewis provided Mr. Cassidy

                    16   with notice of its intent to withdraw on numerous occasions, including providing notice

                    17   pursuant to Local Rule 83-2.3.4 of the potential consequences of Asia Aviation’s inability to

                    18   appear pro se should it be brought back into this action. Finally, Morgan Lewis’s withdrawal

                    19   will not delay the resolution of this action. Although certain upcoming deadlines may need to

                    20   be briefly continued pending the resolution of this Motion (in particular, the deadline for the

                    21   parties to complete mediation), no date has been set for the final pretrial conference or trial,

                    22   and Mr. Cassidy will have sufficient time to obtain new counsel or proceed pro se before any

                    23   key pretrial deadlines. 2

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                           Local Rule 7-3 requires that the parties conference seven days prior to the filing of a motion;
                    25   however, Zetta Jet’s counsel indicated that it was not opposed to Morgan Lewis filing this Motion
                         on January 14, 2019, and the parties did not require additional time to confer since the Motion is
                    26   unopposed.
                         2
                    27     Morgan Lewis is concurrently filing an ex parte application to have this Motion heard on
                         January 28, 2019, prior to the Court’s earliest available hearing date (March 18, 2019), to avoid
                    28   any unnecessary delay resulting from the resolution of this Motion.
MORGAN, LEWIS &
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 BOCKIUS LLP                               MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE
 ATTORNEYS AT LAW
                                                          TO WITHDRAW AS COUNSEL
           Case 2:17-cv-06648-JAK-GJS Document 67 Filed 01/14/19 Page 3 of 6 Page ID #:1977



                     1          Morgan Lewis therefore respectfully requests that the Court grant its motion for leave

                     2   to withdraw as counsel for Defendants.

                     3   II.    ARGUMENT
                     4          A.     Legal Standard
                     5          Local Rule 83-2.3.2 provides:

                     6          An attorney may not withdraw as counsel except by leave of court. A motion
                                for leave to withdraw must be made upon written notice given reasonably in
                     7
                                advance to the client and to all other parties who have appeared in the action.
                     8          The motion for leave to withdraw must be supported by good cause. Failure of
                                the client to pay agreed compensation is not necessarily sufficient to establish
                     9          good cause.
                    10          In ruling on a motion to withdraw as counsel, district courts generally consider “(1) the

                    11   reasons why withdrawal is sought; (2) the prejudice withdrawal may cause to other litigants;

                    12   (3) the harm withdrawal might cause to the administration of justice; and (4) the degree to

                    13   which withdrawal will delay the resolution of the case.” Stewart v. Boeing Co., No. CV 12-

                    14   05621 RSWL (AGRx), 2013 WL 3168269, at *1 (C.D. Cal. June 19, 2013).

                    15          As set forth below, each of these considerations weighs in favor of permitting Morgan

                    16   Lewis to withdraw as counsel for Defendants.

                    17                 1.      There Is Good Cause for Morgan Lewis’s Withdrawal
                    18          “District courts have broad discretion in determining what constitutes good cause to

                    19   withdraw under a particular set of circumstances,” and “often look to the ABA Model Rules

                    20   of Professional Responsibility, as well as the state’s Professional Responsibility Rules for

                    21   guidance . . . .” Garnica v. Fremont Inv. & Loan, No. SA CV 12-1366-DOC (MLGx), 2012

                    22   WL 5830078, at *1 (C.D. Cal. Nov. 14, 2012).

                    23          Rule 1.16 of the California Rules of Professional Conduct (effective November 1, 2018,

                    24   formerly Rule 3-700) applies to a request by a member of the California Bar to withdraw as

                    25   counsel in a pending action. It provides that an attorney may withdraw if the client engages

                    26   in conduct that “renders it unreasonably difficult for the lawyer to carry out the representation

                    27   effectively,” or if “the client breaches a material term of an agreement with, or obligation, to

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 ATTORNEYS AT LAW
                                                    TO WITHDRAW AS COUNSEL
           Case 2:17-cv-06648-JAK-GJS Document 67 Filed 01/14/19 Page 4 of 6 Page ID #:1978



                     1   the lawyer relating to the representation, and the lawyer has given the client a reasonable

                     2   warning after the breach that the lawyer will withdraw unless the client fulfills the agreement

                     3   or performs the obligation.” Cal. Rules of Prof. Conduct, Rule 1.16(b)(4), (5).

                     4          Here, Mr. Cassidy has both neglected to pay agreed compensation and ceased all

                     5   communications with Morgan Lewis. Mr. Cassidy has had an outstanding invoice from

                     6   Morgan Lewis since June 2018. Hochman Decl. ¶ 3. Morgan Lewis provided notice to Mr.

                     7   Cassidy on September 24, 2018; October 23, 2018; October 26, 2018; October 30, 2018;

                     8   November 6, 2018; November 12, 2018; November 26, 2018; December 12, 2018; and

                     9   December 17, 2018 that it would cease representation if it did not receive payment. Id. On
                    10   December 27, 2018, Morgan Lewis wrote to Mr. Cassidy regarding its intent to withdraw as

                    11   counsel, and asked Mr. Cassidy if he intended to substitute in other counsel or appear pro se.

                    12   Id. ¶ 5. It also reminded Mr. Cassidy that Asia Aviation’s dismissal from this matter was

                    13   without prejudice, and informed him of the potential consequences of Asia Aviation failing to

                    14   obtain representation if it is brought back into the case. Id. After it did not receive a response,

                    15   it followed up again on January 2, 2019. Id. As of the date of filing of this Motion, Morgan

                    16   Lewis has yet to receive a response from Mr. Cassidy. Moreover, Mr. Cassidy has not

                    17   responded to any telephone calls or email communications from Nathan Hochman, the Morgan

                    18   Lewis attorney responsible for this matter, since December 6, 2018. Id. ¶ 4.

                    19          Based on the foregoing, there is good cause for the Court to grant the motion. See, e.g.,
                    20   Stewart, 2013 WL 3168269, at *2 (granting motion to withdraw where client failed to pay

                    21   outstanding balance for his legal representation and it was unlikely he would rectify the

                    22   situation in the future); China Cent. Television v. Create New Tech. HK Ltd., No. CV 15-01869

                    23   MMM (AJWx), 2015 WL 12826457, at *2 (C.D. Cal. June 25, 2015) (“A breakdown in

                    24   communications between client and attorney constitutes good cause for withdrawal.”); Lehman

                    25   Bros. Holdings, Inc. v. PMC Bancorp, No. LA CV10-07207 JAK (PJWx), 2017 WL 4071384,

                    26   at *2 (C.D. Cal. July 26, 2017) (“When there is a complete breakdown in the attorney-client

                    27   relationship, a request to withdraw is commonly granted.”).

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MORGAN, LEWIS &
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 ATTORNEYS AT LAW
                                                  TO WITHDRAW AS COUNSEL
           Case 2:17-cv-06648-JAK-GJS Document 67 Filed 01/14/19 Page 5 of 6 Page ID #:1979



                     1                  2.      Morgan Lewis’s Withdrawal Will Not Prejudice the Other Litigants

                     2          Morgan Lewis’s withdrawal will not prejudice the other litigants. Indeed, the only

                     3   remaining plaintiffs in this matter, Zetta Jet, do not oppose this motion. Hochman Decl. ¶ 6.

                     4                  3.      Morgan Lewis’s Withdrawal Will Not Harm the Administration of Justice

                     5          Morgan Lewis’s withdrawal will not harm the administration of justice. Mr. Cassidy

                     6   may either proceed pro se, or he will have sufficient time before trial to obtain new counsel.

                     7   Moreover, Asia Aviation has been dismissed from the case without prejudice. See Dkt. No.

                     8   56. Morgan Lewis’s withdrawal will therefore not create any immediate issues of an entity

                     9   being unrepresented. And in compliance with Local Rule 83-2.3.4, Morgan Lewis provided

                    10   Mr. Cassidy with notice of the consequences of Asia Aviation’s inability to appear pro se

                    11   should it be brought back into the matter, giving Asia Aviation more than sufficient time to

                    12   obtain counsel should Zetta Jet seek reconsideration of the motion to dismiss.

                    13                  4.      Morgan Lewis’s Withdrawal Will Not Delay Resolution of the Case

                    14          Morgan Lewis’s withdrawal will not delay resolution of the case. As the parties

                    15   discussed in their Rule 7-3 conference (see Hochman Decl. ¶ 6), certain deadlines may need

                    16   to be adjusted slightly due to Morgan Lewis’s withdrawal. In particular, the parties are

                    17   required to mediate by January 31, 2018, and intend to request Court approval to delay this

                    18   deadline pending the resolution of this Motion.3 However, no trial date has been set in this

                    19   action. Morgan Lewis’s withdrawal will therefore not result in any delay of trial or of the final

                    20   resolution of this case.

                    21   ///

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                          The parties will file a stipulation to this effect once it is determined when the Court is able to
                    28   hear this Motion.
MORGAN, LEWIS &
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 BOCKIUS LLP                               MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE
 ATTORNEYS AT LAW
                                                           TO WITHDRAW AS COUNSEL
           Case 2:17-cv-06648-JAK-GJS Document 67 Filed 01/14/19 Page 6 of 6 Page ID #:1980



                     1   III.   CONCLUSION

                     2          Based on the foregoing, Morgan Lewis respectfully requests that the Court grant its

                     3   motion for leave to withdraw as counsel for Defendants.

                     4
                          Dated: January 14, 2019                      Nathan J. Hochman
                     5                                                 MORGAN, LEWIS & BOCKIUS LLP

                     6                                                 By /s/ Nathan J. Hochman
                     7                                                        Nathan J. Hochman
                                                                              Attorney for Defendants Geoffery O.
                     8                                                        Cassidy and Asia Aviation Holdings
                                                                              PTE. Ltd.
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 BOCKIUS LLP                             MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE
 ATTORNEYS AT LAW
                                                 TO WITHDRAW AS COUNSEL
